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                                   UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA

        In re:                                    :

        CAROLYNN A. FENNIMORE
                                                  : Bankruptcy No. 17-15619JKF
                       Debtor(s)                  : Chapter 13

                                                 ORDER

          AND NOW, after notice and hearing, the above-captioned case is hereby dismissed.




                                                             BY THE COURT



Date: August 16, 2018                             ______________________________
                                                  Jean K. FitzSimon, B. J.
 Interested parties:

 Polly A. Langdon, Esq.
 Frederick L. Reigle, Esq.
 Standing Chapter 13 Trustee
 2901 St. Lawrence Avenue
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 CAROLYNN A. FENNIMORE
 214 FERNWOOD COURT
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